AO 450 (Rev. 11/11) Judgment in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

Jessica Irving,
Plaintiff

Vv.
Steve Carr, et al.,

Civil Action No, 2:16-cv-728

 

Defendant

ed

JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

 

 

Othe plaintiff (name) recover from the

defendant (name) ———— the amount of
dollars ($ ), which includes prejudgment

interest at the rate of %, plus post judgment interest atthe rateof =—————s % per annum, along with costs.

Othe plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)

 

 

 

a other: Jury reached a verdict in favor of Defendant Steve Carr, Defendant Jennifer Bogenrife, and Defendant
Nicole Tyo, against Plaintiff. This case is hereby terminated.
This action was (check one):

A tried by a jury with Judge Sarah D. Morrison presiding, and the jury has
rendered a verdict.

 

01 tried by Judge without a jury and the above decision
was reached.

O decided by Judge a on a motion for

 

Date: _ 8/20/2021

 
